UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
JOSIAS TCHATAT, )
) AMENDED COMPLAINT
Plaintiff, )
) JURY TRIAL DEMANDED
-against- )
) 14 Civ. 2385 (LGS)
THE CITY OF NEW YORK; POLICE OFFICER)
LIAM O’HARA, Shield No. 20203; POLICE )

OFFICER HARRY AROCHO, Shield No. 24345; )
JOHN DOES; RICHARD ROES; BEST BUY CO., )
INC., d/b/a BEST BUY CO. OF MINNESOTA; __ )
SHWON EDMONDS; RICHARD CASTELLANO; )
VAN MOBLEY; JESSE KEMPEN; JESSICA )
DELESTIN; IAN PALMER; EASTERN )
SECURITY CORP.; SAMUEL J. VOTTA; )
ISIDORE CALECA; and MICHAEL MOES, )

)

)

Defendants.
x

 

PRELIMINARY STATEMENT

 

1. This is a civil action in which the plaintiff, JOSIAS
TCHATAT, seeks relief for the defendants’ violation of his rights
secured by the Civil Rights Act of 1871, 42 U.S.C. §§ 1981, 1983,
and 1985(3), by the United States Constitution, including its
Fourth and Fourteenth Amendments, and by the laws and
Constitution of the State and City of New York. The plaintiff
seeks damages, both compensatory and punitive, affirmative and
equitable relief, an award of costs and attorneys’ fees, and such

other and further relief as this court deems equitable and just.
JURISDICTION

2. This action is brought pursuant to the Constitution of
the United States, including its Fourth and Fourteenth
Amendments, and pursuant to 42 U.S.C. §§ 1981,1983, and 1985(3).

Jurisdiction is conferred upon this court by 42 U.S.C. §§
1981,1983, and 1985(3) and 28 U.S.C. §§1331 and 1343(a) (3) and
(4), this being an action seeking redress for the violation of
the plaintiff's constitutional and civil rights.

3. The plaintiff further invokes this court’s supplemental
jurisdiction, pursuant to 28 U.S.C. §1367, over any and all state
law claims and as against all parties that are so related to
claims in this action within the original jurisdiction of this
court that they form part of the same case or controversy.

JURY TRIAL DEMANDED

 

4, Plaintiff demands a trial by jury on each and every one
of his claims as pleaded herein.

VENUE

 

5. Venue is proper for the United States District Court
for the Southern District of New York pursuant to 28 U.S.C. §1391
(a), (b) and (c).
PARTIES
6. Plaintiff was at all times relevant herein a resident
of the State of New York, County of New York. Plaintiff was born

in Cameroon. Plaintiff is a black man.
7. Defendant THE CITY OF NEW YORK is and was at all times
relevant herein a municipal entity created and authorized under
the laws of the State of New York. It is authorized by law to
maintain a police department, which acts as its agent in the area
of law enforcement and for which it is ultimately responsible.
Defendant THE CITY OF NEW YORK assumes the risks incidental to
the maintenance of a police force and the employment of police
officers as said risk attaches to the public consumers of the
services provided by the New York City Police Department.

8. Defendants POLICE OFFICER LIAM O'HARA, POLICE OFFICER
HARRY AROCHO, and JOHN DOES are and were at all times relevant
herein duly appointed and acting officers, servants, employees
and agents of THE CITY OF NEW YORK and/or the New York City
Police Department (NYPD), a municipal agency of defendant THE
CITY OF NEW YORK. Defendants POLICE OFFICER LIAM O’ HARA, POLICE
OFFICER HARRY AROCHO, and JOHN DOES are and were at all times
relevant herein acting under color of state law in the course and
scope of their duties and functions as officers, agents,
servants, and employees of defendant THE CITY OF NEW YORK, were
acting for, and on behalf of, and with the power and authority
vested in them by THE CITY OF NEW YORK and the New York City
Police Department, and were otherwise performing and engaging in
conduct incidental to the performance of their lawful functions

in the course of their duties. Defendants POLICE OFFICER LIAM
O’ HARA, POLICE OFFICER HARRY AROCHO, and JOHN DOES are sued
individually.

9. Defendants RICHARD ROES are and were at all times
relevant herein duly appointed and acting supervisory officers,
servants, employees and agents of THE CITY OF NEW YORK and/or the
New York City Police Department, responsible for the training,
retention, supervision, discipline and control of subordinate
members of the police department under their command. Defendants
RICHARD ROES are and were at all times relevant herein acting
under color of state law in the course and scope of their duties
and functions as supervisory officers, agents, servants, and
employees of defendant THE CITY OF NEW YORK, were acting for, and
on behalf of, and with the power and authority vested in them by
THE CITY OF NEW YORK and the New York City Police Department, and
were otherwise performing and engaging in conduct incidental to
the performance of their lawful functions in the course of their
duties. Defendants RICHARD ROES are sued individually.

10. At all times herein mentioned, defendant BEST BUY CO.,
INC., d/b/a BEST BUY CO. OF MINNESOTA (hereafter “BEST BUY”) was and
is a foreign business corporation that operated, on the date of
Plaintiff’s arrest as described herein, a retail store located at 517
East 117°° Street, New York, NY. It is designated as a foreign
business corporation by the NY State Department of State.

11. At all times herein mentioned, defendant EASTERN SECURITY
CORP. (hereafter “EASTERN SECURITY”) was and is a domestic business
corporation that provided security services, on the date of
Plaintiff’s arrest as described herein, at the BEST BUY retail store
located at 517 East 117° Street, New York, NY. It is designated as a
domestic business corporation by the NY State Department of State.

12. On its website EASTERN SECURITY states that it “has
unlimited resources from the ranks of law enforcement professionals
and specially trained security personnel.”

13. Defendant SAMUEL J. VOTTA is the President of EASTERN
SECURITY. EASTERN SECURITY’s website states that he is a former
member of the New York City Police Department.

14. Defendant ISIDORE CALECA is a Senior project manager at
EASTERN SECURITY (identified by EASTERN SECURITY’s website as its
Director of Personnel and Field Support). EASTERN SECURITY’s
website states that he is a former member of the New York City
Department of Correction.

15. At all times herein mentioned, defendants SHWON EDMONDS,
RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN,
IAN PALMER, SAMUEL J. VCTTA, ISIDORE CALECA and MICHAEL MOES were
officers or employees of defendant BEST BUY and/or of EASTERN
SECURITY, and were acting within the course and scope of their

employment with defendants BEST BUY and EASTERN SECURITY.

16. Defendant SHWON EDMONDS, on September 20, 2011, was

employed by defendant EASTERN SECURITY CORP.

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17. At all times herein mentioned, defendants SHWON EDMONDS,
RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN
PALMER, SAMUEL J. VOTTA, ISIDORE CALECA and MICHAEL MOES were
acting under color of state law.

18. At all times herein mentioned, defendants SHWON EDMONDS,
RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN,
IAN PALMER, SAMUEL J. VOTTA, ISIDORE CALECA and MICHAEL MOES,
through their ongoing relationship, joint action, and conspiracy
with, members of the New York City Police Department, were clothed
with, and acted with impunity because they were clothed with and
protected by, the authority of state law.

19. Defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,
JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER, SAMUEL J. VOTTA,

ISIDORE CALECA and MICHAEL MOES are sued individually.

20. At all times herein mentioned, defendant BEST BUY and/or
EASTERN SECURITY, its agents, servants and/or employees, including
defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY, JESSE
KEMPEN, JESSICA DELESTIN, IAN PALMER, SAMUEL J. VOTTA, ISIDORE
CALECA and MICHAEL MOES, were under an obligation to operate, manage,
maintain, and control the premises, and their own and their
subordinates’ activities and behavior, in a careful, safe, and lawful

manner.
21. At all times herein mentioned, defendant BEST BUY and/or
EASTERN SECURITY was under an obligation to use reasonable care in

the hiring, training, retention, and supervision of its employees.

22. At all times herein mentioned, defendant CITY was under an
obligation to use reasonable care in the hiring, training, retention,

and supervision of its employees.

STATEMENT OF FACTS

 

23. On the evening of September 20, 2011 Plaintiff was
shopping at the BEST BUY store located at 517 E. 117% Street, New
York, NY (which was designated BEST BUY Store # 1418).

24. On information and belief, defendant CASTELLANO was
working in a supervisory capacity as a loss prevention associate at
BEST BUY Store # 1418.

25. While Plaintiff was at the store, he needed to use the
bathroom, and used the bathroom, at the store.

26. Plaintiff then purchased a flashdrive at the store.

27. As Plaintiff was leaving the store, following paying for
the flashdrive, he was stopped by a few MICHAEL MOES employees of
BEST BUY and/or EASTERN SECURITY, on information and belief
including Defendants EDMONDS, KEMPEN, and CASTELLANO, and possibly
Defendant MOBLEY as well.

28. These MICHAEL MOES falsely accused Plaintiff of stealing

property from the store, and said they had called the police (which

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was, at that point in time, false).

29. Defendant MOBLEY (in a written statement on BEST BUY
stationary) stated that he was informed by Defendant JESSICA
DELESTIN that Plaintiff had entered the bathroom with a product she
believed had not been paid for.

30. Plaintiff had not brought any merchandise into the
bathroom.

31. Plaintiff agreed that the police should be called, as he
had not stolen anything, and had done nothing wrong, and was happy
to explain himself to the police to clear up the situation.

32. Defendants EDMONDS and CASTELLANO testified at
Plaintiff’s criminal trial that Plaintiff asked for the police to
be called.

33. The MICHAEL MCES asked Plaintiff to go with them to the
security office to await the police.

34. Plaintiff went with the MICHAEL MOES to the security
office.

35. Defendant CASTELLANO testified at Plaintiff's criminal
trial that, once Plaintiff was in the security office - despite
there being a telephone in the security office - Defendant
CASTELLANO stepped out of the security office intending to call the
police, and that he went back into the security office quickly
thereafter when he heard a thump and saw the exterior wall of the
security office move.

36. Defendant EDMONDS tried to handcuff Plaintiff in the
security office.

37. Plaintiff saw no reason why he should be handcuffed, as
he had walked without need for any physical coercion to the
security office to await the police. Plaintiff therefore declined
to be handcuffed by defendant EDMONDS.

38. Plaintiff was attacked in the security room by
defendants EDMONDS, MOBLEY, KEMPEN and CASTELLANO.

39. Plaintiff was punched and kicked repeatedly in the head,
face, and body by defendants EDMONDS, MOBLEY, KEMPEN and
CASTELLANO, and forcibly handcuffed against his will.

40. Plaintiff was kicked even after he was handcuffed by
these Defendants.

41. Defendants MOBLEY and CASTELLANO called Plaintiff a
“nigger,” and a “thief,” and told Plaintiff that Plaintiff was just
mad because he had gotten caught.

42. Defendant SHWON EDMONDS was acting under color of law in
a law enforcement capacity on September 20, 2011.

43. | According to the Security Proposal dated March 2, 2005 -
signed by Defendant SAMUEL J. Vora, President of  RASTERN SECURITY
agreement” governing the relationship between the companies — the
rate of si per hour was to be paid by BEST BUY for the. work of
EASTERN SECURITY personnel classified as “Law-enforcenent personnel”
(elsewhere described as “Active / or “Retired Law-Enforcement

Personnel”), and the rate of $17.00 per “hour was to be paid by BEST
BUY. for the work of EASTERN SECURITY personnel classified as “Unarmed
professional © security guard” (elsewhere described as “Unarmed
professionally Trained Sec curity Guards) .

44, EASTERN ‘SECURITY’ Ss invoices and time- ‘sheets indicate that
BEST BUY paid EASTERN SECURITY at the rate of 7 per hour for the
work of Defendant SHWON EDMONDS, including his work on September 20,
2011.

45. The first of EASTERN SECURITY’ s 3 “POST ORDERS that all
EASTERN SECURITY GUARDS assigned to BEST BUY must remember and follow
AT ALL TIMES” states 1) NEVER put your hands on anyone UNLESS to
PROTECT LIFE.” Oe a

46. Defendant EDMONDS violated. this: - Post. Order #1,. by
attempting to handcuff Plaintiff when such was entirely unnecessary

for any purpose (let alone to protect Life), as Plaintiff had

voluntarily gone to the security office and was ‘peacefully waiting
for the police to arrive (and had in fact asked for the police to. be
called).

47. Defendant ISIDORE CALECA assisted Defendant EDMONDS (his
subordinate at EASTERN SECURITY) in constructing a false narrative as
to what transpired concerning Plaintiff on September 20, 2011.

48. Defendant ISIDORE CALECA drafted a false narrative —
purporting to be a first person narrative by Defendant SHWON EDMONDS
(but which misspelled his name and stated “I, Shawn Edmonds, Security
officer for ESC [EASTERN SECURITY CORP.]” - and emailed it to

Defendant EDMONDS on September 29, 2011.

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despite admitting that they

were not able to observe Plaintiff while he was in the bathroom,

and otherwise did not maintain continuous personal observation of
Plaintiff, Defendants EDMONDS, MOBLEY, KEMPEN and CASTELLANO still
made an “apprehension” of Plaintiff.

53.

 
55. Police Officers - on information and belief Defendants
POLICE OFFICER LIAM O'HARA and POLICE OFFICER HARRY AROCHO -
arrived on the scene.

56. Defendants POLICE OFFICER LIAM O’HARA and POLICE
OFFICER HARRY AROCHO first sought to speak with, and did speak
with, the MICHAEL MOES employees of BEST BUY, including Defendant
SHWON EDMONDS.

57. When defendants POLICE OFFICER LIAM O’HARA and POLICE
OFFICER HARRY AROCHO approached the Plaintiff - despite the fact
that it was plainly visible that Plaintiff had been the victim of
a physical attack, and was on the floor of the office in obvious
pain - they would not listen to a word that Plaintiff said, and
cursed at, and were very rude, dismissive, and aggressive towards
plaintiff.

58. Defendant POLICE OFFICER LIAM O’HARA took a photograph,
or photographs, on his personal cell phone, of injuries to
Defendant EDMONDS’ face.

59, Defendant POLICE OFFICER LIAM O’HARA did not take any
photographs of injuries to Plaintiff.

60. Defendants POLICE OFFICER LIAM O'HARA and POLICE
OFFICER HARRY AROCHO would only listen to what the MICHAEL MOES
employees of BEST BUY and/or EASTERN SECURITY had to say, and not
to anything Plaintiff had to say.

61. Plaintiff tried to explain to defendants POLICE OFFICER

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LIAM O'HARA and POLICE OFFICER HARRY AROCHO that he had been
attacked by the defendant employees of BEST BUY and/or EASTERN
SECURITY.

62. Defendants POLICE OFFICER LIAM O’HARA and POLICE
OFFICER HARRY AROCHO did not arrest any of the MICHAEL MOES
employees of BEST BUY and/or EASTERN SECURITY, despite the fact
that they had beaten Plaintiff up and illegally seized and
handcuffed him.

63. Defendants POLICE OFFICER LIAM O’HARA and POLICE
OFFICER HARRY AROCHO did not request to, and did not, review
surveillance video footage that was readily available, and which
if viewed would likely have fully exculpated Plaintiff.

64. BEST BUY Store # 1418 was equipped with approximately 20
video surveillance cameras, that recorded events occurring in
almost the entire shopping area of the store.

65. Defendant CASTELLANO testified at Plaintiff’s criminal
trial that he was tracking Plaintiff’s movements in the store with
the store’s video surveillance system.

66. Defendants POLICE OFFICER LIAM O’HARA and POLICE
OFFICER HARRY AROCHO arrested Plaintiff.

67. Plaintiff was taken to the NYPD 25" Precinct.

68. Plaintiff was then taken by the police, including POLICE
OFFICER LIAM O’ HARA, to St. Luke’s Hospital.

69. Plaintiff was then taken back to the Precinct.

70. Plaintiff was then taken to Manhattan Central Booking.

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71. Plaintiff was initially charged with violation of New
York State Penal Law § 155.25 (Petit Larceny), § 145.001 (1)
(Criminal Mischief in the Fourth Degree), and § 110 / 120.00 (1)
(Attempted Assault in the Third Degree).

72. POLICE OFFICER LIAM O’HARA is the deponent on the
Criminal Court Complaint that was lodged against Plaintiff and
attests, under penalty of perjury, that he is informed by
Security Officer 1 (Defendant VAN MOBLEY), that Defendant MOBLEY
observed the Plaintiff inside the BEST BUY store located at 517
E. 117°" Street, remove one memory card from a rack and conceal
the memory card by placing the item inside the Plaintiff’s pants
pocket, and then attempt to leave the store in possession of the
property and without paying for it. It is also alleged in the
Criminal Court Complaint that Plaintiff was stopped and that
Defendant MOBLEY recovered the memory card, valued at $9.99, from
Plaintiff's pants pocket. It is also alleged in the Criminal
Court Complaint that POLICE OFFICER LIAM O’HARA is informed by
Security Officer 2 (Defendant SHWON EDMONDS) that after Plaintiff
was stopped by Defendant MOBLEY, Defendant EDMONDS observed
Plaintiff forcibly strike Defendant EDMONDS’ head with
Plaintiff’s head one time, causing Defendant EDMONDS’ eye glasses
to break and causing Defendant EDMONDS to suffer from redness and
pain to his head.

73. Defendant MOBLEY executed a Supporting Deposition under

penalty of perjury, attesting that he was the person referred to as

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Security Officer One in the Criminal Court Complaint, and that the
facts in the Criminal Court Complaint that are attributed to him
are true, and that he knows those facts from his personal
knowledge.

74. Defendant MOBLEY also executed a separate Shoplifting /
Trespass Supporting Deposition, in which he affirms under penalty
of perjury that he observed Plaintiff remove a camera memory card
from a rack, and place it in his front right pants pocket.
Defendant MOBLEY also attests in that document that he recovered
the camera memory card from Plaintiff’s front right pants pocket.

75. Defendant MOBLEY also executed, under penalty of
perjury, on behalf of BEST BUY - witnessed by Defendant POLICE
OFFICER O’ HARA - an NYPD “Complainant’s Report of Lost or Stolen
Property / Identity Theft,” listing as stolen property “1 Sandisk,”
model / serial # SDSDB-2048-All, valued at $9.99.

76. Defendant EDMONDS executed a Supporting Deposition under
penalty of perjury, attesting that he was the person referred to as
Security Officer Two in the Criminal Court Complaint, and that the
facts in the Criminal Court Complaint that are attributed to him
are true, and that he knows those facts from his personal
knowledge. Defendant EDMONDS also wrote, by hand, on the
Supporting Deposition “in addition, the defendant in the complaint
head-but me 3 times.”

77. The allegations in the Criminal Court Complaint, and in

these Supporting Depositions of Defendants MOBLEY and EDMONDS, are

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lies.

78. Plaintiff did not steal anything, or attempt to steal
anything, from the BEST BUY on 517 E. 117°" Street on September 20,
2011.

79, Plaintiff was attacked and brutally beaten by the BEST
BUY and/or EASTERN SECURITY employees when he declined to be
handcuffed, and stiffened his body.

80. Plaintiff did not strike or otherwise attack any of the
BEST BUY and/or EASTERN SECURITY employees at all.

81. Plaintiff was thereafter indicted and charged with
violation of New York State Penal Law § 160.10(2) (a) (Robbery in the
Second Degree) and § 160.05 (Robbery in the Third Degree) stemming
from the false allegations made against him by defendants.

82. Bail was set in the amount of $2,500 cash / $5,000 bond,
which Plaintiff was unable to make, and Plaintiff was thereafter
held in the custody of the New York City Department of Corrections.

83. During the course of the prosecution Plaintiff suffered
a mental breakdown due to the stress and misery of his
circumstances, was found unfit to participate in his own defense,
and on February 14, 2012 was committed to the custody of the
Commissioner of Mental Health at the Kirby Forensic Psychiatric
Center (“Kirby”), operated by the New York State Office of Mental
Health, and transferred there from Rikers Island on February 21,
2012.

84. Plaintiff spent approximately 6 or 7 months at Kirby,

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until he was deemed able to once again assist in his own defense.

85. In approximateiy August or September of 2012 Plaintiff
was transferred back to Rikers Island from Kirby.

86. Plaintiff was tried before a jury and acquitted of all
charges on April 5, 2013.

87. Plaintiff was deprived of his liberty for 18 %* months
(563 days) due to the false charges that were lodged against him by
defendants.

88. On information and belief the defendant employees of
BEST BUY and /or EASTERN SECURITY purposely failed to preserve or
destroyed exculpatory video evidence depicting the interior of the
store on the date of Plaintiff’s arrest, in support of their
malicious prosecution of Plaintiff.

89. The Legal Aid Society served a subpoena - that was
signed for by a representative of BEST BUY - at the BEST BUY on 517
E, 117° Street on September 27, 2011, demanding production of,
inter alia, “any and all video or audio recordings relating to the
surveillance, apprehension, detention and interrogation of Josias
Tchatat at 517 E. 117° Street, New York, NY, on September 20,
2011.” (Bold print in original).

90. A BEST BUY incident report identifies 1 hour and 14
minutes of footage relative to Plaintiff, and notes that a
“request” was made for video by Plaintiff’s criminal defense
attorney on September 27, 2011.

91. The following stipulation between the Legal Aid Society

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and the District Attorney’s office was read to the jury by the
judge at Plaintiff’s criminal trial: “Both parties stipulate that
the only surveillance recording provided by BEST BUY was in
response to a subpoena by the defense and that the video provided
by BEST BUY was determined to be blank.”

92. On information and belief the defendant employees of
BEST BUY and /or EASTERN SECURITY and /or defendants POLICE OFFICER
O'HARA and Defendant POLICE OFFICER AROCHO, fabricated evidence -
including a photograph of an allegedly torn package for a memory
card, and false statements - and purposely failed to preserve or
destroyed other evidence (such as the memory card plaintiff was
falsely accused of stealing, and its packaging, and the cell phone
photo(s) POLICE OFFICER 0’HARA took of Defendant SHWON EDMONDS’
face), in support of their malicious prosecution of Plaintiff.

93. Defendant SHWON EDMONDS testified at Plaintiff's
criminal trial that he gave the memory card that Plaintiff was
accused of trying to steal to a police office, on information and
belief either POLICE OFFICER O’HARA or POLICE OFFICER AROCHO.

94. POLICE OFFICER O’HARA testified at Plaintiff's criminal
trial that he took the packaging for the memory card that Plaintiff
was accused of trying to steal temporarily to the precinct to
photograph it with the precinct’s domestic violence camera, and

that he returned it (the packaging) that evening to BEST BUY Store
# 1418.

95. POLICE OFFICER O’ HARA testified that he did not recall

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if the memory card itself was in the packaging, but that all he
recalled receiving was the packaging, and that he did not recall
having been separately provided with a memory card itself or seeing
an actual memory card on September 20, 2011.

96. POLICE OFFICER O'HARA testified that he did not take a
photograph of the memory card itself.

97. POLICE OFFICER O’HARA testified that he only vouchered a
photograph of the packaging and a receipt, and did not voucher
anything having to do with a memory card itself.

98. POLICE OFFICER O’HARA testified that he returned the
packaging for the memory card to BEST BUY Store # 1418 because it
was their merchandise and he guessed that they hoped to sell it.

99, POLICE OFFICER O'HARA testified that he lost his cell
phone between six and twelve months after September 20, 2011, and
in that time he never printed, emailed, downloaded, or otherwise
backed-up the photographis) he took of Defendant SHWON EDMONDS’
face.

100. POLICE OFFICER O'HARA testified that, other than on
September 20, 2011, he had been called to BEST BUY Store # 1418
many times concerning allegations of shoplifting.

101. POLICE OFFICER O’HARA testified that he took Plaintiff
to the hospital while Plaintiff was in his custody, and spent up to
three hours with Plaintiff.

102. POLICE OFFICER O’HARA made no efforts to ascertain - and

was completely uninterested in Plaintiff's attempts to tell him -

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how Plaintiff had been injured, and that Plaintiff had been injured
from being attacked by Defendants EDMONDS, MOBLEY, CASTELLANO, and
KEMPEN.

103. POLICE OFFICER O’HARA was aware that Defendant EDMONDS
did not require any medical care stemming from the incident with
Plaintiff.

104. Defendants POLICE OFFICER O’HARA and POLICE OFFICER AROCHO
simply took the side of the BEST BUY and /or EASTERN SECURITY
employees, and, on information and belief, did not conduct any
inquiry or investigation other than speaking solely to the BEST BUY
and /or EASTERN SECURITY employees, whose narrative they accepted
unquestioningly.

105. On information and belief, the NYPD had a policy,
practice, and/or custom that members of the NYPD simply defer to
accounts of alleged misconduct by members of the public given by
Management and/or security guards at retail and other business
establishments in the CITY OF NEW YORK.

106. The BEST BUY and /or EASTERN SECURITY employees detained,
handcuffed, beat and manhandled Plaintiff under color of law in that
they and the other emplcyees of BEST BUY and /or EASTERN SECURITY
were granted by members cf the NYPD a status according to which they
were granted undue deference in their disputes (including physical
disputes) with the public.

107. Defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,

JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER and MICHAEL MOES acted

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under color of law in that they willfully participated jointly with
members of the NYPD, and members of the NYPD arrested Plaintiff (and
declined to arrest SHWON. EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,
and JESSE KEMPEN for their vicious attack on the Plaintiff) based on
statements made by BEST BUY and /or EASTERN SECURITY employees,
including defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,
JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER and MICHAEL MOES,
without conducting any independent or honest investigation, and
granting undue deference to the narrative(s) provided by the BEST BUY
and /or EASTERN SECURITY employees.

108. Defendants BEST BUY and /or EASTERN SECURITY, by and
through its agents, servants and/or employees, including defendants
SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN,
JESSICA DELESTIN, TAN PALMER and MICHAEL MOES, willfully
participated in joint activity with defendant CITY, its agents,
servants and/or employees, in having Plaintiff arrested, imprisoned,
and charged without justification, privilege, or probable cause.

109. Based on the instigation, importuning, and encouragement by
defendants BEST BUY and /or EASTERN SECURITY, its agents, servants
and/or employees, including defendants SHWON EDMONDS, RICHARD
CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER
and MICHAEL MOES, and without first conducting any reasonable or
honest inquiry or investigation, defendants POLICE OFFICER O’ HARA and
POLICE OFFICER AROCHO intentionally and with deliberate indifference

to Plaintiff’s civil rights arrested Plaintiff, and caused criminal

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charges to be lodged against him.

110. BEST BUY and /or EASTERN SECURITY (including its
President, SAMUEL J. VOTTA, and its Senior Project Manager / Director
of Personnel and Field Support, ISIDORE CALECA) knew of, or should
have known of, the dangerous propensities of defendants SHWON
EDMONDS, RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA
DELESTIN, IAN PALMER and MICHAEL MOES.

111. For example, Defendant SHWON EDMONDS’ publicly
accessible Facebook postings evidence a disturbing callousness, his
taking pleasure in the cifficulties (including legal difficulties)
experienced by others, and the classification of people by racial
stereotype, including the following:

- two posts on February 5, 2012 showing photos he took of
seemingly inebriated people slumped over on the subway;

- a May 28, 2012 post of a photo of a woman from behind,
asking “WTF [what the fuck] wrong with women trying to get
attention.. N their girlfriend won’t tell them the true!! That
they look like a ASS;”

- a September 30, 2012 post of a photo of a woman from
behind, showing her thong underwear and part of her buttocks
protruding from her pants, and commenting, “Wow ... Now white chick
have there pants hanging down...LOL [laugh out loud]..;”

- a post on February 6, 2013 showing a photo he took of a
seemingly inebriated person laying down on the subway;

- a post showing a photo of a car with a “boot” on its

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tire, commenting “Someone is going to b mad when they go to move
there car... Lmao [laugh my ass off]....”

112. On October 213, 2010 New York County District Attorney
Cyrus Vance announced the arrest and arraignment of, and the filing
of felony Grand Larceny charges against, among others, Defendant
SHWON EDMONDS for unemployment benefits fraud committed, on
information and belief, in approximately 2008.

113. Despite the filing of these felony charges directly
implicating Defendant SHWON EDMONDS’ honesty, Defendant EASTERN
SECURITY continued to employ him as an armed security guard, and
Defendants EASTERN SECURITY and BEST BUY permitted him to be
employed as an armed security guard acting in a law enforcement
capacity at the BEST BUY Store # 1418.

114. Defendant SHWON EDMONDS accepted a plea bargain and pled
guilty to Petit Larceny on June 1, 2011 as a disposition of these
charges related to unemployment benefits fraud, and had to pay
$3,847.50 in restitution as a condition of that plea bargain.

115. Despite this guilty plea directly implicating Defendant
SHWON EDMONDS’ honesty, Defendants EASTERN SECURITY, and its
agents, officers, and supervisory employees, including SAMUEL J.
VOTTA, and ISIDORE CALECA, and BEST BUY, and its agents, officers,
and supervisory employees, continued to employ him as an armed
security guard acting in a law enforcement capacity at the BEST BUY
Store # 1418.

116. Defendant SHWON EDMONDS began working as an armed security

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guard for Defendant EASTERN SECURITY in 2008.

117. Defendant SHWON EDMONDS began working as an armed
security guard acting in a law enforcement capacity at the BEST BUY
Store # 1418 in, on information and belief, approximately March of
2011, and stopped working at the BEST BUY Store # 1418 in, on
information and belief, approximately November of 2011.

118. On information and belief, the BEST BUY Store # 1418
closed and ceased operations in early 2012.

119. Defendant SHWON EDMONDS was still employed by Defendant
EASTERN SECURITY as an armed security guard as of April of 2013.

120. As of April of 2013, Defendant SHWON EDMONDS testified
that he had assisted with approximately 25 shoplifting arrests at
various retail stores during his career.

121. Although Defendant SHWON EDMONDS, upon applying for
employment with Defendant EASTERN SECURITY in 2007, completed a
document allowing Defendant EASTERN SECURITY to seek information
from his. prior employers” concerning, inter alia, his job
performance and. honesty, Defendant EASTERN SECURITY, and its
agents, officers, and supervisory employees, . including .its
President, SAMUEL J. VOTTA, and its Senior Project ‘Manager /
Director of Personnel and Field Support, ISIDORE CALECA, on
information and belief never sent the forms to either of two prior
employers who Defendant SHWON EDMONDS listed on his job
application.

122. Defendant SHWON EDMONDS testified at Plaintiff's

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criminal trial that the law enforcement duties he performed at
Defendant BEST BUY’s Store # 1418 were “intertwined” with the duties
performed by Defendant BEST BUY’s loss prevention associates.

123. Defendant BEST BUY’s loss prevention associates included,
on information and belief, Defendants CASTELLANO, KEMPEN, DELESTIN,
and MOBLEY.

124. On information and belief Defendant DELESTIN falsely
informed the New York County District Attorney’s office during the
course of Plaintiff’s prosecution that Plaintiff had been
suspiciously looking over his shoulder, and that Plaintiff had
entered the bathroom at BEST BUY Store # 1418 holding a memory card
package.

125. As a result of the collective acts of defendant CITY, its
agents, servants and/or employees, including defendants POLICE
OFFICER O’HARA and POLICE OFFICER AROCHO, and defendants BEST BUY and
/or EASTERN SECURITY, its agents, servants and/or employees,
including defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,
JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER, SAMUEL J. VOTTA,
ISIDORE CALECA and MICHAEL MOES, plaintiff sustained loss of
liberty, physical injury, and suffered emotional distress, and has

otherwise been damaged.

FIRST CLAIM

DEPRIVATION OF RIGHTS UNDER THE
UNITED STATES CONSTITUTION AND 42 U.S.C. §1983

126. The plaintiff incorporates by reference the

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allegations set forth in all preceding paragraphs as if fully set
forth herein.

127. By their conduct and actions in racially profiling,
harassing, detaining, searching, seizing, arresting, maliciously
prosecuting, abusing process against, assaulting and battering,
violating rights to equal protection of, violating rights to due
process of, discriminating against, inflicting emotional distress
upon, failing to intercede on behalf of, and in fabricating
evidence concerning the September 20, 2011, incident regarding
Plaintiff, the individual defendants, acting both on their own
and in conspiracy with each other, intentionally, maliciously,
and with a deliberate indifference to or a reckless disregard for
the natural and probable consequences of their acts, caused
damage and injury in violation of the plaintiff’s Constitutional
rights as guaranteed under 42 U.S.C. §1983 and the United States
Constitution, including its Fourth and Fourteenth Amendments.

128. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

SECOND CLAIM

SUPERVISORY LIABILITY FOR DEPRIVATION OF RIGHTS UNDER THE
UNITED STATES CONSTITUTION AND 42 U.S.C. §1983

129. The plaintiff incorporates by reference the
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allegations set forth in all preceding paragraphs as if fully set
forth herein.

130. By failing to remedy the wrongs committed by their
subordinates, and in failing to properly train, screen,
supervise, or discipline their subordinates, supervisory
individuals / officers RICHARD ROES, CASTELLANO, VOTTA, CALECA,
and those other MICHAEL MOES who exercised supervisory
responsibilities, caused damage and injury in violation of
plaintiff’s rights guaranteed under 42 U.S.C. §1983, and the
United States Constitution, including its Fourth and Fourteenth
amendments.

131. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

THIRD CLAIM

LIABILITY OF THE CITY OF NEW YORK,
BEST BUY, AND EASTERN SECURITY
FOR CONSTITUTIONAL VIOLATIONS

132. The plaintiff incorporates by reference the
allegations set forth in all preceding paragraphs as if fully set

forth herein.
133. At all times material to this complaint, defendant THE

CITY OF NEW YORK, acting through its police department, and

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through the individual defendants had de facto policies,
practices, customs and usages which were a direct and proximate
cause of the unconstitutional conduct alleged herein.

134. At all times material to this complaint, defendant THE
CITY OF NEW YORK, acting through its police department, and
through the individual defendants, had de facto policies,
practices, customs, and usages of failing to properly train,
screen, supervise, or discipline employees and police officers,
and of failing to inform the individual defendants’ supervisors
of their need to train, screen, supervise or discipline said
defendants. These policies, practices, customs, and usages were
a direct and proximate cause of the unconstitutional conduct

alleged herein.

135. The misconduct detailed above was also the result of an
institutional policy, practice, and/or custom of defendant CITY
whereby NYPD officers responding to scenes such as that described
above are discouraged from making further inquiry or investigation
prior to arresting a subject other than receiving information from
the personnel at retail and other business establishments, which is
given undue deference.

136. Further, the misconduct detailed above was also the
result of institutional policies, practices, and/or customs of
defendants CITY, BEST BUY and EASTERN SECURITY to purposely
overlook and / or actively abet the unconstitutional and racist

targeting of racial minorities at retail stores in New York City
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(known in shorthand vernacular as “shop and frisk”). This practice
has long been of concern to the minority and civil rights
communities in New York City, and only recently begun to be
addressed by the police department and the business community due
to recent large-scale exposure in the media. See, e.g., article by

J. David Goodman, Bratton and Sharpton Discuss Profiling Issue,

 

N.Y. Times (April 4, 2014),

http://www.nytimes.com/2014/04/04/nyregion/bratton-and-sharpton-

 

discuss-profiling-issue.html?ref=nyregion; see also, article on

 

website of PIX 11 news, EXCLUSIVE: NYPD [Internal Affairs Division]

 

investigating role of 2 cops in Barney’s shop-and-frisk arrest (May

 

20, 2104), http://pixll.com/2014/05/20/nypd-investigating-2-cops-

 

involved-in-barneys-shop-and-frisk-arrest/

 

137. Defendant CITY authorized and tolerated as
institutionalized practices, and ratified the misconduct detailed
above, by failing to take adequate precautions in the supervision
and/or training of police personnel, including specifically
defendants Police Officers O’HARA, AROCHO and JOHN DOES.

138. The defendant CITY’s policies/customs and defendant CITY’s
failure to supervise and/or train its employees, including defendants
Police Officers O’HARA, AROCHO and JOHN DOES rose to the level of
deliberate indifference to the consequences of its actions, and
indifference to plaintiff's rights, privileges and immunities secured
by the Constitution of the United States of America, inter alia,

plaintiff’s Fourth and Fourteenth Amendment rights.

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139. At all times material to this complaint, defendants
BEST BUY and EASTERN SECURITY, acting through their employees and
agents, and through the individual defendants had de facto
policies, practices, customs and usages, including acting in
conspiracy and conjunction with employees and agents of the City
of New York concerning the aforementioned unconstitutional
policies, practices, customs, and usages, which were a direct and
proximate cause of the unconstitutional conduct alleged herein.

140. At all times material to this complaint, defendants
BEST BUY and EASTERN SECURITY, acting through their employees and
agents (including their officers, managers and security
personnel), and through the individual defendants, had de facto
policies, practices, customs, and usages of failing to properly
train, screen, supervise, or discipline its employees and agents,
and of failing to inform the individual defendants’ supervisors
of their need to train, screen, supervise or discipline said
employees and agents. These policies, practices, customs, and
usages were a direct and proximate cause of the unconstitutional
conduct alleged herein.

141. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great

humiliation, costs and expenses, and was otherwise damaged and

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injured.
FOURTH CLAIM

DEPRIVATION OF RIGHTS UNDER
42 U.S.C. §1981

142, The plaintiff incorporates by reference the
allegations set forth in all preceding paragraphs as if fully set
forth herein.

143. The Plaintiff was subjected to racially discriminatory
conduct by defendants SHWON EDMONDS, RICHARD CASTELLANO, VAN
MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER, ISIDORE
CALECA and MICHAEL MOES in violation of his rights as guaranteed
under the Civil Rights Act of 1866, 42 U.S.C. § 1981.

144. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

FIFTH CLAIM

DEPRIVATION OF RIGHTS UNDER
42 U.S.C. §1985 (3)

145. The plaintiff incorporates by reference the
allegations set forth in all preceding paragraphs as if fully set
forth herein.

146. Defendants POLICE OFFICER LIAM O'HARA, POLICE OFFICER

HARRY AROCHO, RICHARD ROES, SHWON EDMONDS, RICHARD CASTELLANO,

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VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER, ISIDORE
CALECA and MICHAEL MOES engaged in a conspiracy to deprive
Plaintiff, on the basis of his race, national origin, ethnicity
and/or color, of the equal protection of the laws and/or of equal
privileges and immunities under the laws.

147. As a result cf the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

SIXTH CLAIM

RESPONDEAT SUPERIOR LIABILITY OF BEST BUY and EASTERN
SECURITY FOR DEPRIVATION OF RIGHTS UNDER THE UNITED STATES
CONSTITUTION AND 42 U.S.C. §1983, 42 U.S.C. § 1981,
AND 42 U.S.C. § 1985 (3)

148. The plaintiff incorporates by reference the
allegations set forth in all preceding paragraphs as if fully set
forth herein.

149. The conduct of defendants SHWON EDMONDS, RICHARD
CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN
PALMER, SAMUEL J. VOTTA, ISIDORE CALECA and MICHAEL MOES alleged
herein, occurred while they were on duty and/or in uniform,
and/or in and during the course and scope of their duties and
functions as managerial, retail and / or security employees in
the management and maintenance of BEST BUY and EASTERN SECURITY,

and/or while they were acting under color of state law as agents
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of defendants BEST BUY and EASTERN SECURITY and/or while they
were acting under color of state law through conspiracy with
officers and/or officiais of THE CITY OF NEW YORK and/or while
they were engaging in, and conspiring to engage in, racially
discriminatory conduct toward Plaintiff in violation of 42 U.S.C.
§ 1981 and 42 U.S.C. § 1985(3), and, as a result, defendants BEST
BUY and EASTERN SECURITY are liable to the plaintiff pursuant to
the doctrine of respondeat superior for deprivation of rights
under the United States Constitution and 42 U.S.C. § 1983, 42
U.S.C. § 1981, and 42 U.S.C. § 1985(3).

150. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

SEVENTH CLAIM

RESPONDEAT SUPERIOR LIABILITY OF BEST BUY and EASTERN
SECURITY FOR STATE LAW VIOLATIONS

151. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

152. The conduct of defendants SHWON EDMONDS, RICHARD
CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN, IAN
PALMER, SAMUEL J. VOTTA, ISIDORE CALECA and MICHAEL MOES alleged

herein, occurred while they were on duty and/or in uniform,
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and/or in and during the course and scope of their duties and
functions as managerial, retail, and/or security personnel in the
Management and maintenance of BEST BUY and EASTERN SECURITY, and,
as a result, defendants BEST BUY and EASTERN SECURITY are liable
to the plaintiffs pursuant to the state common law doctrine of
respondeat superior.

153. As a result of the foregoing, plaintiff was deprived of
his Liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

EIGHTH CLAIM
ASSAULT AND BATTERY

154. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

155. By the actions described above, defendants EDMONDS,
CASTELLANO, MOBLEY, and KEMPEN did inflict assault and battery
upon plaintiff. The acts and conduct of defendants were the
direct and proximate cause of injury and damage to plaintiff and
violated his statutory and common law rights as guaranteed by the
laws and Constitution of the State of New York.

156. As a result of the foregoing, plaintiff was deprived of

his liberty, suffered specific and serious bodily injury, pain

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and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.
NINTH CLAIM
FALSE ARREST AND IMPRISONMENT

157. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

158. By the actions described above, defendants EDMONDS,
CASTELLANO, MOBLEY, KEMPEN, DELESTIN, and PALMER caused to be
falsely arrested and imprisoned or falsely arrested and
imprisoned plaintiff, without reasonable or probable cause,
illegally and without a warrant, and without any right or
authority to do so. The acts and conduct of the defendants were
the direct and proximate cause of injury and damage to the
plaintiff and violated his statutory and common law rights as
guaranteed by the laws and Constitution of the State of New York.

159. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and

injured.

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TENTH CLAIM
MALICIOUS PROSECUTION

160. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

161. By the actions described above, defendants EDMONDS,
CASTELLANO, MOBLEY, KEMPEN, DELESTIN, PALMER, and CALECA
maliciously prosecuted plaintiff without any right or authority
to do so. The acts and conduct of the defendants were the direct
and proximate cause of injury and damage to plaintiff and
violated his statutory and common law rights as guaranteed by the
laws and Constitution of the State of New York.

162. As a result of the foregoing, plaintiff was deprived
of his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

ELEVENTH CLAIM
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

163. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

164. By the actions described above, defendants EDMONDS,

CASTELLANO, MOBLEY, and KEMPEN engaged in extreme and outrageous

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conduct, which intentionally caused severe emotional distress to
plaintiff. The acts and conduct of the defendants were the
direct and proximate cause of injury and damage to plaintiff and
violated his statutory and common law rights as guaranteed by the
laws and Constitution of the State of New York.

165. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

TWELFTH CLAIM
ABUSE OF PROCESS

166. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

167. By the conduct and actions described above, defendants
EDMONDS, CASTELLANO, MOBLEY, KEMPEN, DELESTIN, PALMER, and CALECA
employed regularly issued process against plaintiff compelling
the performance or forbearance of prescribed acts. The purpose
of activating the process was intent to harm plaintiff without
economic or social excuse or justification, and the defendants
were seeking a collateral advantage or corresponding detriment to
plaintiff which was outside the legitimate ends of the process.

The acts and conduct of defendants were the direct and proximate

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cause of injury and damage to plaintiff and violated his
statutory and common law rights as guaranteed by the laws and
Constitution of the State of New York.

168. As a result of the foregoing, plaintiff was deprived of
his liberty,- suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

THIRTEENTH CLAIM
TRESPASS

169. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

170. By the actions described above, defendants EDMONDS,
CASTELLANO, MOBLEY, and KEMPEN willfully, wrongfully and
unlawfully trespassed upon the person of plaintiff.

171. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

FOURTEENTH CLAIM
NEGLIGENCE

172. The plaintiff incorporates by reference the allegations

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set forth in all preceding paragraphs as if fully set forth
herein.

173. Defendants EDMONDS, CASTELLANO, MOBLEY, and KEMPEN,
jointly and severally, negligently caused injuries, emotional
distress and damage to the plaintiff. The acts and conduct of the
defendants were the direct and proximate cause of injury and
damage to the plaintiff and violated his statutory and common law
rights as guaranteed by the laws and Constitution of the State of
New York.

174. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

FIFTEENTH CLAIM
NEGLIGENT HIRING, SCREENING, RETENTION, SUPERVISION AND TRAINING

175. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

176. Defendants BEST BUY and EASTERN SECURITY negligently
hired, screened, retained, supervised and trained the individual
defendants who were in their employ. The acts and conduct of the
defendants were the direct and proximate cause of injury and

damage to the plaintiff and violated his statutory and common law

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rights as guaranteed by the laws and Constitution of the State of
New York.

177. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and
injured.

SIXTEENTH CLAIM
CONSTITUTIONAL TORT

178. The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

179. Defendants BEST BUY, EASTERN SECURITY, SHWON EDMONDS,
RICHARD CASTELLANO, VAN MOBLEY, JESSE KEMPEN, JESSICA DELESTIN,
IAN PALMER, ISIDORE CALECA and MICHAEL MOES, acting under color
of law, violated plaintiff’s rights pursuant to Article I, §§ 6,
11 and 12 of the New York State Constitution.

180. A damages remedy here is necessary to effectuate the
purposes of §§ 6, 11 and 12 of the New York State Constitution,
and appropriate to ensure full realization of plaintiff’s rights
under those sections.

181. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain

and suffering, psychological and emotional injury, great

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humiliation, costs and expenses, and was otherwise damaged and
injured.

SEVENTEENTH CLAIM

 

New York City Human Rights Law

182, The plaintiff incorporates by reference the allegations
set forth in all preceding paragraphs as if fully set forth
herein.

183. By the actions described above, Defendants BEST BUY,
EASTERN SECURITY, SHWON EDMONDS, RICHARD CASTELLANO, VAN MOBLEY,
JESSE KEMPEN, JESSICA DELESTIN, IAN PALMER, ISIDORE CALECA and
MICHAEL MOES violated plaintiff’s rights as protected by the New
York City Human Rights Law (NYC Admin. Code § 8-101 et seq.,
including § 8-502). The acts and conduct of the defendants were
the direct and proximate cause of injury and damage to the
plaintiff and violated his rights as guaranteed thereby.

184. As a result of the foregoing, plaintiff was deprived of
his liberty, suffered specific and serious bodily injury, pain
and suffering, psychological and emotional injury, great
humiliation, costs and expenses, and was otherwise damaged and

injured.

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WHEREFORE, the plaintiff demands the following relief
jointly and severally against all of the defendants:

a. Compensatory damages;

b. Punitive damages;

c. The convening and empanelling of a jury to consider
the merits of the claims herein;

d. Costs and interest and attorney’s fees;

e. Such other and further relief as this court may

deem appropriate and equitable.

Dated: New York, New York
August 8, 2014

Z oS _—

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New York, New York 10007

(212) 227-2980

Attorney for Plaintiff

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